
906 So.2d 991 (2005)
Ex parte Arthur Lee GILES.
(In re Arthur Lee Giles
v.
State of Alabama).
No. 1031775.
Supreme Court of Alabama.
February 18, 2005.
Angela Wessels, Dorchester, Massachusetts; and Claudia Pearson of Nakamura &amp; Quinn, Birmingham, for petitioner.
Troy King, atty. gen., and Stephen Shows, asst. atty. gen., for respondent.
LYONS, Justice.
The petition for the writ of certiorari is denied.
In denying the petition for the writ of certiorari, this Court does not wish to be understood as approving all the language, reasons, or statements of law in the Court of Criminal Appeals' opinion. Horsley v. Horsley, 291 Ala. 782, 280 So.2d 155 (1973).
WRIT DENIED.
NABERS, C.J., and SEE, HARWOOD, WOODALL, STUART, SMITH, BOLIN, and PARKER, JJ., concur.
